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              Fill in this information to identify your case:

 Debtor 1                    David Forrester
                             First Name                       Middle Name                     Last Name

 Debtor 2                    Jennifer Forrester
 (Spouse if, filing)         First Name                       Middle Name                     Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF ARKANSAS, LITTLE ROCK DIVISION

 Case number             4:20-bk-11446
 (if known)




Official Form 423
Certification About a Financial Management Course                                                                                                           12/15
If you are an individual, you must take an approved course about personal financial management if:
· you filed for bankruptcy under chapter 7 or 13, or
· you filed for bankruptcy under chapter 11 and § 1141 (d)(3) does not apply.
In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).
After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If the
provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each file
this form with the certificate number before your debts will be discharged.
· If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
  Bankruptcy Code.
· If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or before you file a motion
  for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file a
motion with the court and obtain a court order.
 Part 1: Tell the Court About the Required Course.

 You must check one:

              I completed an approved course in personal financial management:
               Date I took the course                  July 5, 2020
               Name of approved provider               001 Debtoredu LLC.
               Certificate Number                      14912-ARE-DE-034631895

              I am not required to complete a course in personal financial management because the court has granted my motion
               for a waiver of the requirement based on (check one):

                      Incapacity.        I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about finances.


                      Disability.        My physical disability causes me to be unable to complete a course in personal financial management in person, by phone, or
                                          through the internet, even after I reasonably tried to do so.

                      Active duty.       I am currently on active military duty in a military combat zone.


                      Residence.         I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                          instructional courses cannot adequately meet my needs.

 Part 2: Sign Here

 I certify that the information I have provided is true and correct.

    /s/ David Forrester                                                               David Forrester                        Date    July 6, 2020
    Signature of debtor named on certificate                                          Printed name of debtor




Official Form 423                                                   Certification About a Financial Management Course
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